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ft
                                                                                                     FILED
                                                                                               IN OPEN COURT



                                                                                                JAN 1 7 2017
                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF VIRGINIA                    CLERK, U.S. DISTRICT COURT
                                            Norfo c Division                                     NORFOLK. VA


        UNITED STATES OF AMERICA

                       V.                                    Criminal No. 2:17crc3
        DEVON JAY CALDWELL,

                       Defendant.


                                              PLEA AGREEMENT


               DanaJ. Boente, United StatesAttorney for the Eastern District of Virginia; V. Kathleen

       Dougherty, Assistant United States Attorney; the defendant, DEVON JAY CALDWELL; and

       the defendant's counsel have entered into an agreement pursuant to Rule 11 of the Federal Rules

       of Criminal Procedure. The terms of the agreement are as follows:

               1.     Offense and IMaximum Penalties

               The defendant agrees to waive indictment and plead guilty to a single-count criminal

       information charging the defendant withConspiracy to Engage in Sex Trafficking by Force,

       Fraud,and Coercion, in violation of Title 18, United States Code, Sections 1594(c), 1591(a)(1),

       and (b)(1). The maximum penalties for this offense are a maximum term of Life imprisonment,

       a fine of $250,000.00, full restitution, forfeiture of assets as outlined below, special assessments

       pursuant to 18 U.S.C. §§ 3013 and 3014, and not less than five (5) years and up to a Life term of

       supervised release. The defendant understands that this supervised release term is in additionto

       any prison term the defendant may receive, and that a violation of a term of supervised release

       could result in the defendant being returned to prison for the full term of supervised release.
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          2.     Factual Basis for the Plea

          The defendant will plead guilty because the defendant is in fact guilty ofthe charged
  offense. The defendant admits the facts set forth in the statement offacts filed with this plea
  agreement and agrees that those facts establish guilt ofthe offense charged beyond areasonable
  doubt. The statement of facts, which is hereby incorporated into this plea agreement, constitutes

  astipulation of facts for purposes of Section IB1.2(c) ofthe Sentencing Guidelines.
          3.     Assistance and Advice of Counsel

          The defendant is satisfied that the defendant's attorney has rendered effective assistance.

   The defendant understands that by entering into this agreement, defendant surrenders certain
   rights as provided in this agreement. The defendant understands that the rights ofcriminal
   defendants include the following:

                  a.     the right to plead notguilty and to persist in thatplea;

                  b.     the right to a jury trial;

                  c.     the right to be represented by counsel - and ifnecessary have the court
                         appoint counsel - at trial and at every other stage ofthe proceedings; and
                  d.     the right attrial to confront and cross-examine adverse witnesses, to be
                         protected from compelled self-incrimination, to testify and present
                         evidence, and to compel the attendance of witnesses.

           4.     Role of the Court and the Probation Office

           Thedefendant understands thatthe Court hasjurisdiction andauthority to impose any

   sentence within the statutory maximum described above but that the Court will determine the
   defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands
   that the Court has not yet determined a sentence and that any estimate ofthe advisory sentencing
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  range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

  may have received from the defendant's counsel, the United States, or the Probation Office, is a

  prediction, nota promise, and is not binding on the United States, the Probation Office, or the

  Court. Additionally, pursuant to the Supreme Court's decision in United Statesv. Booker, 543

  U.S. 220 (2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

  impose a sentence above or below the advisory sentencing range, subject only to review by

  highercourts for reasonableness. The United States makes no promise or representation

  concerning what sentence the defendant will receive, and the defendant cannotwithdraw a guilty

  plea based upon the actual sentence.

         5.      Waiver of Appeal, FOIA and Privacy Act Rights

         The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

  appeal the sentence imposed. Nonetheless, the defendant knowingly waives the rightto appeal

  the conviction and any sentence within the statutory maximum described above (or the manner in

  which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

  ground whatsoever otherthan an ineffective assistance of counsel claimthat is cognizable on

  direct appeal, in exchange for the concessions made by the United States in this plea agreement.

  This agreement does not affectthe rights or obligations of the United States as set forth in 18

  U.S.C. § 3742(b). The defendantalso hereby waives all rights, whetherasserteddirectly or by a

  representative, to request or receive from any department or agency of the United Statesany

  records pertaining to the investigation or prosecution of this case, including without limitation

  any records that may be soughtunderthe Freedom of Information Act, 5 U.S.C. § 552, or the

  Privacy Act, 5 U.S.C. § 552a.
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         6.      Special Assessment

         The defendant understands and agrees that, pursuant to 18 U.S.C. § 3014, if the Court

  should find that the defendant is non-indigent, the Court shall assess a special assessment of

  $5,000per countof conviction on the defendant. However, the special assessment shall not be

  payable until the defendant has satisfied all outstanding court-ordered fines, orders of restitution,

  and any other obligation related to victim compensation arisingfrom the criminal convictions on

  which the special assessment is based.

         7.      Payment of Monetary Penalties

         The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613, whatever

  monetary penalties are imposed by the Courtwill be due immediately and subjectto immediate

  enforcement by the United Statesas provided for in Section 3613. Furthermore, within 14 days

  of a request, the defendant agrees to provide all of the defendant's financial information to the

  United States and the Probation Office and, if requested, to participate in a pre-sentencing

  debtor's examination and/or complete a financial statement under penalty of perjury. If the

  Court imposes a schedule of payments, the defendant understands that the schedule of payments

  is merelya minimum schedule of payments and not the only method, nor a limitation on the

  methods, available to the United States to enforce the judgment. If the defendant is incarcerated,

  the defendant agrees to voluntarily participate in the Bureau of Prisons' Inmate Financial

  Responsibility Program, regardless of whether the Court specifically directs participation or

  imposes a schedule of payments.

         8.      Restitution


         Defendant agrees that restitution is mandatory pursuant to 18 U.S.C. §3663A. Defendant

  agreesto the entry of a Restitution Orderfor the full amount of the victims' losses. Pursuant to




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   18 U.S.C. § 3663A(c)(2), the defendant agrees that an offense listed in § 3663A(c)(l) gave rise

   to this pleaagreement and as such, victims of theconduct described in thecharging instrument,

   statement of facts or any related or similar conduct shall be entitled to restitution.

          The parties acknowledge that determination of the identities, addresses and loss amounts

   for all victims inthis matter is a complicated and time consuming process. To thatend,

  defendant agrees, pursuant to 18 U.S.C. § 3664(d)(5), thatthe court may defer the imposition of

  restitution until after the sentencing; however, defendant specifically waives the 90-day

  provision found at 18 U.S.C. § 3664(d)(5) and consents to the entry of any orders pertaining to

  restitution after sentencing without limitation.

          9.      Immunity from Further Prosecution in this District

          The United States will not ftirther criminally prosecute the defendant in the Eastern

  District of Virginia for the specific conduct described in the information or statement of facts.

          10.     Defendant's Cooperation

          The defendant agrees to cooperate fully and truthfully with the United States, and provide

  all information known to the defendant regarding any criminal activity as requested by the

  government. In that regard:

                  a.      The defendant agrees to testifytruthfully and completely at any grand

                         juries, trials or other proceedings.

                  b.      The defendant agrees to be reasonably available for debriefing and pre-

                          trial conferences as the United States may require.

                  c.      The defendant agrees to provide all documents, records, writings, or

                          materials of any kind in the defendant's possession or under the
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                         defendant's care, custody, or control relating directly or indirectly to all

                        areas of inquiry and investigation.

                 d.     The defendant agrees that, at the request of the United States, the

                        defendant will voluntarily submit to polygraph examinations, and that the

                        United States will choose the polygraph examiner and specify the

                        procedures for the examinations.

                 e.     The defendant agrees that the Statement of Facts is limited to information

                        to support the plea. The defendant will provide more detailed facts

                        relating to this case during ensuing debriefings.

                 f.     The defendant is hereby on notice that the defendant may not violate any

                        federal, state, or local criminal law while cooperating with the

                        government, and that the government will, in its discretion, consider any

                        such violation in evaluating whether to file a motion for a downward

                        departure or reduction of sentence.

                 g.     Nothing in this agreement places any obligation on the government to seek

                        the defendant's cooperation or assistance.

         11.     Use of Information Provided by the Defendant Under This Agreement

         The United States will not use any truthful information provided pursuant to this

  agreement in any criminal prosecution against the defendant in the Eastern District of Virginia,

  except in any prosecution for a crime of violence or conspiracy to commit, or aiding and

  abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to U.S.S.G. § 1B1.8, no

  truthful information that the defendant provides under this agreement will be used in determining

  the applicable guideline range, except as provided in Section IB 1.8(b). Nothing in this plea



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  agreement, however, restricts the Court's or Probation Officer's access to information and

  records in the possession of the United States. Furthermore, nothing in this agreement prevents

  the government in any way from prosecuting the defendantshould the defendant knowingly

  provide false, untruthful, or perjurious information or testimony, or from using information

  provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,

  administrative or judicial. The United States will bring this plea agreement and the full extent of

  the defendant's cooperation to the attention of other prosecuting offices if requested.

         12.     Defendant Must Provide Full, Complete and Truthful Cooperation

         This plea agreement is not conditioned upon charges being brought against any other

  individual. This plea agreement is not conditioned upon any outcome in any pending

  investigation. This plea agreement is not conditioned upon any result in any future prosecution

  which may occur because of the defendant's cooperation. This plea agreement is not

  conditioned upon any result in any future grandjuiy presentation or trial involving charges

  resulting from this investigation. This plea agreement is conditioned upon the defendant

  providing full, complete and truthful cooperation.

         13.     Motion for a Downward Departure

         The parties agree that the United States reserves the right to seek any departure from the

  applicable sentencing guidelines, pursuantto Section 5K1.1 of the Sentencing Guidelines and

  Policy Statements, or any reduction of sentence pursuant to Rule 35(b) of the Federal Rules of

  Criminal Procedure, if, in its sole discretion, the United States determines that such a departure

  or reduction of sentence is appropriate.




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           14.    Forfeiture Agreement

           The defendant understands that the forfeiture of assets is part of the sentence that must be

   imposed in this case. The defendant agrees to forfeit all interests in any sex trafficking related

   asset that the defendant owns or over which the defendant exercises control, directly or

   indirectly, as well as any property that is traceable to, derived from, fungible with, or a substitute

   for property that constitutes the proceeds of his offense, or facilitating property or property

   involved in the offense. The defendant understands that if proceedsof the offense(s) are not

  available to the United States to be forfeited, the Courtmust enter a forfeiture money judgment

   in the amount of the proceeds. UnitedStates v. Blackman, 746 F.3d 137 (4th Cir. 2014). The

  defendant further agrees to waive all interest in the asset(s) in any administrative or judicial

  forfeiture proceeding, whether criminal or civil, stateor federal. The defendant agrees to consent

  to the entry of orders of forfeiture for such property and waives the requirements of Federal

  Rules of Criminal Procedure 32.2 and 43(a) regarding noticeof the forfeiture in the charging

  instrument, announcement ofthe forfeiture at sentencing, and incorporation of the forfeiture in

  the judgment. Defendant admits and agrees that the conduct described in the charging

  instrument and Statement of Facts provides a sufficient factual and statutory basis for the

  forfeiture of the property sought by the government.

          15.     Waiver of Further Review of Forfeiture

          The defendant further agrees to waive all constitutional and statutory challenges to

  forfeiture in any manner (including direct appeal, habeas corpus, or any other means) to any

  forfeiture carriedout in accordance with this Plea Agreement on any grounds, including that the

  forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

  the Courtto advisethe defendant of any applicable forfeiture at the time the guilty plea is
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   accepted as required by Rule ll(b)(I)(J). The defendant agrees to take all steps as requested by

  the United Statesto pass clear title to forfeitable assets to the United States, and to testify

  truthfully in anyjudicialforfeiture proceeding. The defendant understands and agrees that all

  property covered by this agreement is subjectto forfeiture as property facilitating illegal conduct,

  property involved in illegal conduct giving rise to forfeiture, and/or substitute assetsfor property

  otherwise subject to forfeiture.

          16.     The Defendant's Obligations Regarding Assets Subject to Forfeiture

          Upon request by the government, the defendant agrees to identify all assets in which the

  defendant had any interest or over which the defendant exercises or exercised control, directly or

  indirectly, within the past three (3) years. The defendant agreesto take all stepsas requested by

  the United States to obtain from any other parties by any lawful means any records of assets

  owned at any time by the defendant. The defendant agrees to undergo any polygraph

  examination the United Statesmay choose to administer concerning such assetsand to provide

  and/or consent to the release ofthe defendant's tax returns for the previous five years.

          17.    Sex Offender Registration and Notification Act

         The defendant has been advised, and understands, that under the Sex Offender

  Registration and Notification Act, a federal law, the defendantmust register and keep the

  registration current in each of the followingjurisdictions: where the defendant resides; is an

  employee; or is a student. The defendant understands that the requirements for registration

  include providing true name, residence address, and names and addresses of any places where

  the defendant is or will be an employee or a student, among other information. The defendant

  further understands that the requirement to keep the registration current includes informing at

  least one jurisdiction in which the defendant resides, is an employee, or is a student not later than
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   three business days after any change of the defendant's name, residence, employment, or student

   status. The defendant has been advised, and understands, that failure to comply with these

   obligations subjects the defendant to prosecution for failure to register under federal law, 18

   U.S.C. § 2250, which is punishable by a fine or imprisonment,or both.

          18.     Breach of the Plea Agreement and Remedies

          This agreement is effective when signed by the defendant, the defendant's attorney, and

   an attorney for the United States. Thedefendant agrees to entry of this pleaagreement at the

   date and time scheduled with the Court by the United States (in consultation with the defendant's

   attorney). If the defendant withdraws from this agreement, or commits or attempts to commit

   any additional federal, state or local crimes, or intentionally gives materially false, incomplete, or

   misleading testimony or information, or otherwise violates any provision of this agreement, then:

                  a.      The United States will be released from its obligations under this

                          agreement, including any obligation to seek a downward departure or a

                          reduction in sentence. The defendant, however, may not withdraw the

                          guilty plea entered pursuant to this agreement;

                  b.      The defendant will be subject to prosecution for any federal criminal

                          violation, including, but not limited to, perjury and obstruction of justice,

                          that is not time-barred by the applicable statute of limitations on the date

                          this agreement is signed. Notwithstanding the subsequentexpiration of

                          the statute of limitations, in any such prosecution, the defendant agrees to

                          waive any statute-of-limitationsdefense; and

                  c.      Any prosecution, including the prosecution that is the subject of this

                          agreement, may be premised upon any information provided, or




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                           statements made, by the defendant, and all such information, statements,

                           and leads derived therefrom may be used against the defendant. The

                           defendant waives any right to claim that statements made before or after

                           the date of this agreement, including the statement of facts accompanying

                           this agreement or adopted by the defendant and any other statements made

                          pursuant to this or any other agreement with the United States, should be

                          excluded or suppressed underFed. R. Evid. 410, Fed. R. Crim. P. 11(f),

                          the Sentencing Guidelines or any other provision of the Constitution or

                          federal law.

           Any alleged breach of this agreementby either party shall be determined by the Court in

   an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

   be admissible and at which the moving party shallbe required to establish a breach of the plea

   agreement by a preponderance of the evidence. The proceeding established by this paragraph

   does not apply, however, to the decision ofthe United States whether to file a motion based on

  "substantial assistance" as that phrase is used in Rule 35(b) of the Federal Rules of Criminal

   Procedure and Section 5K1.1 of the Sentencing Guidelines and Policy Statements. The

   defendant agrees that the decision whether to file such a motion rests in the sole discretion of the

   United States.


          19.       Nature of the Agreement and Modifications

          This written agreement constitutes the complete plea agreement between the United

  States, the defendant, and the defendant's counsel. Thedefendant and the defendant's attorney

  acknowledge that no threats, promises, or representations have been made, nor agreements

  reached, other than those set forth in writing in this plea agreement, to cause the defendant to




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   plead guilty. Any modification of this plea agreement shall be valid only as set forth in writing

   in a supplemental or revised plea agreement signed by all parties.



                                                  Dana J. Boente
                                                  United States Attorney


                                            By:
                                                  V. Kathleen Dougherty T
                                                  Assistant United States Attorney




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   Defendant's Signature: I hereby agree that I have consulted with my attorney and fully

   understand all rights with respect to the pending criminal information. Further, I fully

   understand all rights with respect to Title 18, United States Code, Section 3553 and the

   provisions of the Sentencing Guidelines Manual that may apply inmy case. I have read this plea

   agreement and carefully reviewed everypart of it with myattorney. I understand this agreement

   and voluntarily agree to it.



   Date:
           I   /          zfevON JAY CALDWELL
                          Defendant




   Defense Counsel Signature: I am counsel for the defendant inthiscase. I have fully explained to

   the defendant the defendant's rights with respect to the pending information. Further, I have

   reviewed Title 18, United StatesCode, Section 3553 and the Sentencing Guidelines Manual, and

   I have fully explained to the defendant the provisions that may applyin this case. I have

   carefully reviewed every partof thispleaagreement with the defendant. To my knowledge, the

   defendant's decision to enter into this agreement is an informed and voluntary one.



   Date:           l"?
                          Arrianba Conner
                          Counsel for the Defendant




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                                            U. S. DEPARTMENT OF JUSTICE
                                         Statement of Special Assessment Account

    This statement reflects your special assessment only. There may be other penalties imposed at sentencing.

                                              ACCOUNT INFORMATION •

GRIM. ACTION NO.:                          2:17cr<;b
DEFEItoANT'SNAME:                          Devon Jay Caldwell

PAY THIS AMOUNT:


   INSTRUCTIONS:

            1.       MAKE CHECK OR MONEY ORDER PAYABLE TO:
                     CLERK,    U.S.    DISTRICT COURT

            2.       PAYMENT MUST REACH THECLERK'S OFFICE BEFORE YOUR SENTENCING
                     DATE


            3.       PAYMENT SHOULD BE SENT TO:


                                           In person (9 AM to 4 PM)              By mail:
    Alexandria cases:                                             CJerk, U.S. District Court
                                                                   401 Courthouse Square
                                                                    Alexandria, VA 22314
    Richmond cases;                                                Clerk, U.S. District Court
                                                               701 East Broad Street, Suite 3000
                                                                    Richmond, VA 23219
    Newport News cases:                                           Clerk, U.S. District Court
                                                                   2400 West Ave, Ste 100
                                                                  Newport News, VA 23607


   Norfolk cases:                                                 Clerk, U.S. District Court
                                                                      600 Granby Street
                                                                      Norfolk, VA 23510

           4.       INCLUDE DEFENDANT'S NAME ON CHECKOR MONEY ORDER

           5.       ENCLOSE THISCOUPON TO ENSURE PROPER and PROMPT APPLICATION OF
                    PAYMENT




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